                      UNITED STATES DISTRICT COURT
                        DISTRICT OF CONNECTICUT


HEIDI LANGAN, on behalf of herself and Civil Action No. 3:13-CV-01470-JAM
all others similarly situated,

                      Plaintiff,

            vs.

JOHNSON & JOHNSON CONSUMER
COMPANIES, INC.,

                      Defendant.


  REPLY MEMORANDUM OF LAW IN FURTHER SUPPORT OF PLAINTIFF’S
              MOTION FOR CLASS CERTIFICATION
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I.      INTRODUCTION

        Defendant represents that its sunscreens provide “natural protection” with “100 percent

naturally-sourced sunscreen ingredients.” These representations are materially false since the

sunscreens are full of synthetic ingredients. Accordingly, Plaintiff moves the Court to certify a

class under Federal Rule 23(b)(2) to compel Defendant to stop mislabeling its products and

charging an unjustified premium for “natural” products.1

II.     ARGUMENT

      A. Plaintiff Has Standing

      CUTPA, like all of the state consumer protection statutes at issue here, specifically provides

that “[i]n any action brought under this section, the court may, in its discretion, order, in addition

to damages or in lieu of damages, injunctive or other equitable relief.” Conn. Gen. Stat. § 42-

110g(d). As a matter of state substantive law, once a plaintiff has suffered an ascertainable loss,

she has standing to pursue all statutory remedies, including an injunction.2 A contrary rule,

allowing deceptive conduct to continue because a plaintiff has figured out defendant’s misconduct

and brought suit, would gut the state statutory law that the Court should apply in a diversity action.

        Plaintiffs in a class action may enjoin a defendant’s misrepresentations even after they

personally learn the truth and stop using the misrepresented product so that other class members

will not be similarly harmed. “[P]laintiffs have standing to seek injunctive relief based on the



1
  Defendant combined in one brief arguments against class certification and in favor of summary
judgment. Defendant’s opposition to class certification repeats arguments in support of summary
judgment that do not concern class-wide issues. The same is true of Defendant’s Daubert motion
to exclude the testimony of Plaintiff’s expert. Plaintiff will address those arguments in its brief
opposing Defendant’s motions for summary judgment and to exclude Plaintiff’s expert.
2
 Serv. Rd. Corp. v. Quinn, 241 Conn. 630, 644 (1997) (plaintiff that fails to prove damages may
obtain injunctive relief under CUTPA if plaintiff is able to prove that an unfair trade practice
resulted in an ascertainable loss to the plaintiff).

                                                  1
allegation that a product’s labeling or marketing is misleading to a reasonable consumer,” because

to “hold otherwise would effectively bar any consumer who avoids the offending product from

seeking injunctive relief.” Ackerman v. Coca–Cola Co., No. 09–CV–395, 2013 WL 7044866, at

*2–3, *14–15, *15 n. 23 (E.D.N.Y. July 18, 2013) (report and recommendation) (collecting cases).

“Public policy, as well as precedent, supports th[is] rule” because “[w]hile plaintiffs may not

purchase the same . . . products as they purchased during the class period, because they are now

aware of the true content of the products, to prevent them from bringing suit on behalf of a class

in federal court would surely thwart the objective” of state consumer protection laws. Belfiore v.

Procter & Gamble Co., No. 14-CV-4090, 2015 WL 1402313, at *3 (E.D.N.Y. March 25, 2015)

(internal citations and quotation marks omitted).3

       In a diversity case, federal courts should look state law to determine whether the

requirements of Article III, injury in fact, causation and redressability, are met. In Hollingsworth

v. Perry, 133 S. Ct. 2652, 2663 (2013), the Supreme Court looked to California state law to

determine whether intervenors, who themselves had not been injured, were authorized to act on

behalf of the State of California, which had been injured. Similarly, in Committee Official Comm.

of Unsecured Creditors of Color Tile, Inc. v. Coopers & Lybrand, LLP, 322 F.3d 147, 157 (2d Cir.

2003) the Second Circuit looked to Texas law in affirming that plaintiff-appellant had Article III

standing to bring its breach of contract and breach of fiduciary duty claims. See also In re Bayer

Corp. Combination Aspirin Products Mktg. & Sales Practices Litig., 701 F. Supp. 2d 356, 377

(E.D.N.Y. 2010) (“To determine injury-in-fact, a court will ‘consider [ ] whether the alleged injury



3
 See also Delgado v. Ocwen Loan Servicing, LLC, No. 13–CV–4427, 2014 WL 4773991, at *14
(E.D.N.Y. Sept. 24, 2014) (“[f]inding that Plaintiffs have no federal standing to enjoin a deceptive
practice once they become aware of the scheme would eviscerate the intent of” state consumer
protection statutes).

                                                 2
falls within the “zone of interests” that the statute or constitutional provision at issue was designed

to protect.’”) (quoting Anjelino v. New York Times Co., 200 F.3d 73, 88 (3d Cir.1999));4

Henderson, 2011 WL 1362188, at *8 (court looked to California’s consumer protection laws to

determine whether plaintiffs had standing to seek an injunction to stop defendant’s false label

claims, even though they “may not purchase the same Gruma products as they purchased during

the class period, because they are now aware of the true content of the products.”).5

        Defendant argues that Ackerman is distinguishable because no plaintiff “expressed an

intent not to purchase the products at issue.” Def. Br. at 12, n.6. But this ignores the Ackerman

Court’s analysis entirely. Ackerman, 2013 WL 7044866, at *15, n.23. Defendant’s attempt to

distinguish Ries v. Arizona Beverages, 287 F.R.D. 523, 533 (N.D. Cal. 2012), Def. Br. at n.6. fails

for the same reason. Id. at 533 (that Plaintiffs discovered deception years ago does not render




4
 See also Franke v. Wiltschek, 209 F.2d 493 (2d Cir. 1953); Port of New York Auth. v. E. Air
Lines, Inc., 259 F. Supp. 745, 753 (E.D.N.Y. 1966); Cendant Corp. v. Forbes, 70 F. Supp. 2d
339, 344-45 (S.D.N.Y. 1999), aff'd, 205 F.3d 1322 (2d Cir. 2000).
5
  See also Koehler v. Litehouse, Inc., No. 12 CV 04055, 2012 WL 6217635, at *6 (N.D. Cal. Dec.
13, 2012) (plaintiff had standing to sue for injunctive relief even though he did not intend to make
another purchase); Larsen v. Trader Joe's Co., No. 11 CV 05188, 2012 WL 5458396, at *4 (N.D.
Cal. June 14, 2012) (plaintiffs had standing to seek injunctive relief even though they would not
purchase the food items again.) Whether plaintiff intended to purchase the product again was not
considered when the court certified an injunctive relief class in Jermyn v. Best Buy Stores, L.P.,
256 F.R.D. 418 (S.D.N.Y. 2009), which cuts against Defendant’s argument. While Defendant
cites almost exclusively cases from the Northern District of California that support its argument
(Def. Br. at 12, n. 5), these cases fail to consider how state law affects the interests of litigants in
a diversity case, and thus affects the analysis of injury, causation and redressability for Article III.
Moreover, as shown by cases such as Kohler, Larsen, and Lanovaz v. Twinings North America,
Inc., No. C-12-02646-RMW, 2014 WL 46822, at *10 (N.D. Cal. Jan. 6, 2014) (agreeing with
Henderson and Larsen), the cases Defendant cites do not even represent the majority view in that
District, let alone in the Ninth Circuit (as shown by cases such as Henderson, supra, from the
Central District). And the views of Courts in this circuit are contrary, as shown by cases such as
Belfiore, Delgado and Ackerman.

                                                   3
advertising more truthful. Plaintiffs still could not rely on representation – which is the harm

California’s consumer protection statutes were designed to redress).

       Here, CUTPA and the other materially identical statutes permit an injunction solely upon

a showing of ascertainable loss. Accordingly, state law provides a substantive redress for the very

injury Plaintiff suffered, satisfying Article III’s redressability prong. No more is required. 6

    B. Ascertainability Is Not an Issue

       Defendant’s claim that the class is not “ascertainable” makes no sense because Plaintiff

has defined the class with reference to completely objective criteria (Def. Br. at 15). Defendant’s

argument that it will not be possible to craft an administratively feasible mechanism for identifying

those who fit the objective criteria or weed out fraudulent claims fails because Plaintiff moves for

a Rule 23(b)(2) class. Def. Br. at 15-16. As a leading treatise explains:

               A common justification for the implied requirement of definiteness is
       concern for litigants' due process rights: in the absence of a definite class, putative
       class members may not receive notice or relief and defendants may not have the
       benefit of preclusion. However, in Rule 23(b)(2) class actions, notice is not
       obligatory, and it is often the case that any relief obtained on behalf of the class is
       injunctive and therefore does not require distribution to the class. Because
       “defendants are legally obligated to comply [with any relief the court orders] … it
       is usually unnecessary to define with precision the persons entitled to enforce
       compliance.” Therefore, it is not clear that the implied requirement of definiteness
       should apply to Rule 23(b)(2) class actions at all.

William B. Rubinstein, NEWBERG ON CLASS ACTIONS § 3:7 (5th ed. 2011); accord, Shelton v.

Bledsoe, 775 F.3d 554, 563, 90 Fed. R. Serv. 3d 677 (3d Cir. 2015) (“ascertainability is not a


6
  Defendant’s citation to City of Los Angeles v. Lyons, 461 U.S. 95, 111 (1983), O’Shea v. Littleton,
414 U.S. 48 (1974), Shain v. Ellison, 356 F.3d 211 (2d Cir. 2004) and Deshown E. v. Safir, 156
F.3d 340 (2d Cir. 1998) (Def. Br. at 12) ignores the fact that these cases involved federal standing
rules in federal civil rights cases. Since these are not diversity cases, they are not relevant.
Vaccariello v. XM Satellite Radio, Inc., 295 F.R.D. 62, 68(S.D.N.Y. 2013), also cited by Defendant
(Def. Br. at 13) relies on these inapplicable federal law cases. Moreover, Vaccariello did not even
involve false advertising, but rather concerned the improper automatic renewal of a subscription
radio service.

                                                  4
requirement for certification of a (b)(2) class seeking only injunctive and declaratory relief."),

Davis v. City of New York, 296 F.R.D. 158, 164 (S.D.N.Y. 2013) (quoting Newberg); Ligon v. City

of New York, 288 F.R.D. 72, 80 (S.D.N.Y. 2013) (same); Floyd v. City of New York, 283 F.R.D.

153, 171 (S.D.N.Y. 2012) (“Both the Second Circuit and numerous district courts in the circuit

have approved of class definitions without precise ascertainability under Rule 23(b)(2).Other

circuits agree with this approach.”) (citing cases). Only one of the cases cited by Defendant even

involved a 23(b)(2) class, and that case found that the ascertainability requirement does not apply

in that context. Byrd v. Aaron's Inc., 784 F.3d 154, 163 n.7 (3d Cir. 2015).7 Although the class in

this case is every bit as “ascertainable” as the classes in cases such as Ebin v. Kangadis Food, Inc.,

297 F.R.D. 561 (S.D.N.Y. 2014),8 in this 23(b)(2) case, the question is academic and all of the

cases on which defendant relies are irrelevant.




7
  While Karhu v. Vital Pharm., Inc., No. 14-11648, 2015 WL 3560722 (11th Cir. June 9, 2015),
also cited by Defendant, involved both a 23(b)(3) and a 23(b)(2) class, the District Court denied
certification of the (b)(2) class for reasons unrelated to ascertainability, and the Eleventh Circuit
did not discuss it further. Karhu v. Vital Pharm., Inc., No. 13-60768-CIV, 2014 WL 815253, at
*11 (S.D. Fla. Mar. 3, 2014). It is not clear that plaintiff even raised the denial of the (b)(2) class
on appeal. The remainder of Defendant’s cases all involved 23(b)(3) certifications.
8
  As the Seventh Circuit has discussed, the movement to raise the “ascertainability” bar to preclude
consumer actions brought on behalf of customers who purchased low-cost items simply because
they are unlikely to keep proofs of purchase is unwarranted: “These are cases where the class
device is often essential ‘to overcome the problem that small recoveries do not provide the
incentive for any individual to bring a solo action prosecuting his or her rights.’” Mullins v. Direct
Digital, LLC, 795 F.3d 654, 658 (7th Cir. 2015) (quoting Amchem Products, Inc. v. Windsor, 521
U.S. 591, 617 (1997)). The Second Circuit would likely follow this rule. In Brecher v. Republic
of Argentina, 2015 WL 5438797, at *2 (2d Cir. Sept. 16, 2015), the class was not ascertainable
because it could not be determined who owned a beneficial interest in bonds bought and sold in
the secondary market. The court was concerned that because of secondary market trading, it could
not determine who owned the beneficial interest giving rise to the claim – indeed, the members of
the putative class themselves would not know, and would have no way of knowing, whether they
had held the beneficial interest. Here, obviously, there is no secondary market in the Products and
only initial purchasers are claimants.

                                                  5
     C. Plaintiff’s Claim Is Typical

        Typicality “is satisfied when each class member's claim arises from the same course of

events, and each class member makes similar legal arguments to prove the defendant's liability.”

Cent. States SE & SW Areas Health & Welfare Fund v. Merck-Medco Managed Care, L.L.C., 504

F.3d 229, 245 (2d Cir. 2007) (internal quotations omitted). Potential defenses defeat typicality

only where there is (1) “a sufficiently clear showing”, (2) “that a defense unique to the

representative plaintiff's claims”, (3) “will in fact defeat those claims.” Floyd, 283 F.R.D. at 176

(internal quotations omitted, emphasis added).       Defendant’s claim that Ms. Langan cannot

establish causation or ascertainable loss does not come close to meeting this standard, since she

specifically testified that she bought the Products because she believed the “natural” claim on the

label, and paid more for it as a result.9

     D. Defendant’s Attacks on Ms. Langan’s Adequacy are Baseless

        A plaintiff satisfies the “adequacy” prong unless the plaintiff has a fundamental conflict

with the interests of the rest of the class. In re Flag Telecom Holdings, Ltd. Sec. Litig., 574 F.3d

29, 35 (2d Cir. 2009).10 There is no conflict “when proposed class representatives are merely

friends or acquaintances of the class members’ attorney.” Poulos v. Caesars World, Inc., No. CV-

S-94-1126-RLH-RJJ, 2002 WL 1991180, at *6 (D. Nev. June 25, 2002), aff'd in part, appeal

dismissed in part, 379 F.3d 654 (9th Cir. 2004) (internal citations omitted). 11 Accordingly,


9
  Langan Dep. at 44:3-23; 66:3-23; 97:11-23; Defendant’s “adequacy” argument mostly
incorporates factual claims from its summary judgment briefing (Def. Br. at 16, 32-34). Plaintiff
will address these arguments further in its opposition to Defendant’s summary judgment motion.
10
   See also Zyburo v. NCSPlus, Inc., 44 F. Supp. 3d 500, 503 (S.D.N.Y. 2014). Plaintiffs who
satisfy the typicality requirement are generally considered adequate class representatives.
Hallmark v. Cohen & Slamowitz, LLP, 293 F.R.D. 410, 418 (W.D.N.Y. 2013); Pub. Employees'
Ret. Sys. of Mississippi v. Merrill Lynch & Co., Inc., 277 F.R.D. 97, 109 (S.D.N.Y. 2011).
11
   See also In re Toys R Us-Delaware, Inc. Fair & Accurate Credit Transactions Act (FACTA)
Litig., 300 F.R.D. 347, 373-74 (C.D. Cal. 2013); Elias v. Ungar's Food Products, Inc., 252 F.R.D.
                                                 6
Defendant’s “insinuations” are “entirely unpersuasive.” Pub. Employees' Ret. Sys. of Mississippi

v. Merrill Lynch & Co., 277 F.R.D. 97, 110 (S.D.N.Y. 2011). Defendant’s cases either involved

situations where the plaintiff (or plaintiff’s immediate family) could receive some financial benefit

from class counsel’s role in the case, 12 or where plaintiff’s claims were not typical.13 In contrast,

Ms. Veno only worked for Plaintiff while she was in school and would occasionally socialize after

work. Deposition of Nicole A. Veno, attached as Exhibit A to the Kindall Decl. (“Veno Dep.”) at

12-17, 35-36. And the record demonstrates Ms. Langan’s independence. 14

       Defendant wrongly complains that Attorney Veno approached Plaintiff about the Products.

Def. Br. at 12. “Defendants opine that I should not allow the class action mechanism to be used

to create litigation that would not otherwise exist. Either defendants are naïve for making this

argument, or, more likely, they hope that I am naïve enough to accept it.” In re Vitamin C Antitrust




233, 244-45 (D.N.J. 2008); In re Currency Conversion Fee Antitrust Litig., 230 F.R.D. 303, 309
(S.D.N.Y. 2004) (rejecting “diaphanous” argument that plaintiff was inadequate because he was a
“close personal friend of his attorney and they socialize together”).
12
   In re IMAX Securities Litig., 272 F.R.D. 138, 156 (S.D.N.Y. 2010) (plaintiff managed “a
significant portion” of counsel’s money and received substantial fees from him each year);
Langendorf v. Skinnygirl Cocktails, LLC, 306 F.R.D. 574, 581 (N.D. Ill. 2014) (plaintiff’s father,
who referred him to class counsel, had close business relationship and had served as co-counsel
with class counsel in at least five cases).
13
   Spagnola v. Chubb Corp., 264 F.R.D. 76, 96-97 (S.D.N.Y. 2010) (plaintiff’s 40-year long close
friendship with counsel was only one of “numerous problems;” the most significant problem was
that he was not a member of the class he sought to represent); Moheb v. Nutramax Labs. Inc., No.
CV 12-3633-JFW JCX, 2012 WL 6951904, at *5 (C.D. Cal. Sept. 4, 2012) (in addition to close
friendship with counsel, plaintiff’s claims were not typical of those of the class).
14
  Veno Dep. at 21:4-22:14; Deposition of Heidi Langan, attached as Exhibit B to the Kindall
Decl., (“Langan Dep.”) at 29:23-33:21. Ms. Langan also testified that she was not promised
anything for serving as a plaintiff (Langan Dep. at 155:5-8), nor is there any indication that she or
any member of her family stands to gain from the suit.

                                                  7
Litig., 279 F.R.D. 90, 107 (E.D.N.Y. 2012). More to the point, Ms. Veno’s contact with Ms.

Langan, was entirely proper and Defendant has no right to complain about it.15

       Defendant wrongly claims that Plaintiff “lacks even the most basic knowledge of the

litigation.” Def. Br. at 13. “The Supreme Court . . . has expressly disapproved of attacks on the

adequacy of a class representative based on the representative’s” – supposed – “ignorance.” Baffa

v. Donaldson, Lufkin & Jenrette Sec. Corp., 222 F.3d 52, 61 (2d Cir. 2000). General knowledge

is sufficient,16 and Plaintiff more than qualifies. She bought the sunscreen because of the

misrepresentations and thought it was all-natural. Langan Dep. at 44:7-23; 58:24-59:6. She said

consumers bought the sunscreen “under the pretense that it was natural, and we paid more for it.”

Id. at 97:11-17. She wants Defendant to stop using its misleading labels. Id. at 105:7-11. She

understands her role is to “represent [] all the people that purchased the product.” Id. at 38:12-13.

She testified that the case alleges “[t]hat the product claims that it’s 100 percent natural, but, in

fact, it isn’t.” Id. at 44:3-6. She reviewed the complaint before it was filed (id. at 24:15-20; 55:17-

19), and knew the case was withdrawn and refiled. Id. at 40:16-21. She receives and reviews




15
  Defendant’s suggestion that Ms. Veno violated Connecticut Rules of Professional Conduct Rule
7.3(a) is both offensive and irrelevant. Def. Br. at 12, n.5. The rule does not apply to text messages,
which is how Ms. Veno first contacted Plaintiff. That Ms. Veno and Ms. Langan exchanged
occasional texts is scarcely a reason to question Ms. Langan’s independence.
16
   Fort Worth Employees' Ret. Fund v. J.P. Morgan Chase & Co., 301 F.R.D. 116, 134 (S.D.N.Y.
2014); see also Diaz v. Residential Credit Solutions, Inc., 299 F.R.D. 16, 20 (E.D.N.Y. 2014);
Shady Grove Orthopedic Associates, P.A. v. Allstate Ins. Co., 293 F.R.D. 287, 302 (E.D.N.Y.
2013); Ackerman v. Coca-Cola Co., No. 09 CV 395 DLI RML, 2013 WL 7044866, at *12
(E.D.N.Y. July 18, 2013). Defendant cites one out-of-circuit district court decision, but even if
Bodner v. Oreck Direct, LLC, 2007 WL 1223777, at *2 (N.D. Cal. Apr. 25, 2007) were consistent
with Second Circuit precedent, the case is distinguishable since the plaintiff did not meet with his
attorney prior to the day before his deposition and did not read the complaint before it was filed.

                                                  8
periodic updates from and talks with counsel. Id. at 155:157:11. She responded to Defendant’s

discovery and sat for a deposition. No more is required.17

     E. Plaintiff Can Establish Commonality

        Defendant wrongly claims that Plaintiff cannot establish by common evidence that the

challenged claim deceived consumers (Def. Br. at 19-23) or was “material” (Id. at 24-25). These

issues are common as a matter of law because the standard for proving both materiality and

deception is objective, looking to the hypothetical “reasonable consumer.” See, e.g., Caldor, Inc.

v. Heslin, 215 Conn. 590, 597, 577 A.2d 1009, 1013 (1990); see also Citibank (S. Dakota) N.A. v.

Mazzarella, No. TTDCV106002096S, 2010 WL 5610861, at *5 (Conn. Super. Ct. Dec. 14, 2010).

Since the issue is whether the label claim was objectively material and false, proof for all class

members is exactly the same. Similarly, Defendant argues that Plaintiff has not attempted to argue

that the elements of ascertainable loss or causation, which are required in some jurisdictions, are

capable of common proof. (Def. Br. at 19, n.11). But Plaintiff’s Motion for Class Certification

[ECF No. 69] specifically sets forth that both Plaintiff and the class paid a premium for the

Products in comparison to products that do not purport to be natural. Plaintiff’s Motion for Class

Certification at 11. Consequently, the claims of the whole class rise or fall together. 18 Amgen Inc.


17
   Defendant’s evidence of Plaintiff‘s “overwhelming ignorance” is two tangential deposition
responses, as set forth at page 7 of its brief. Defendant’s complaint that Plaintiff couldn’t testify
as to a responsibility to “keep informed about the progress of the case” ignores that she has in fact
kept informed about the progress of the case. Defendant’s complaint that Plaintiff could not
remember whether the Complaint was amended, or where it was originally filed, is even more
trivial. Plaintiff is “entitled to rely on the expertise of counsel in conducting the litigation.” In re
Symbol Technologies, Inc. Sec. Litig., No. 05-CV-3923 DRH AKT, 2015 WL 3915477, at *8
(E.D.N.Y. June 25, 2015); see also Allen v. Dairy Farmers of Am., Inc., No. 5:09-CV-230, 2012
WL 5844871, at *8 (D. Vt. Nov. 19, 2012). To quote Plaintiff’s response, “I didn’t know where
[the case] had been filed. That’s why I have [counsel].” Langan Dep. at 24:10-25:14.
18
  Defendants’ alleged “commonality” arguments are merits based arguments that are repeated
from Defendant’s other briefing. Defendant’s erroneous arguments concerning Dr. Howlett’s
expert analysis (Def. Br. at 19-21) will be rebutted in Plaintiff’s Opposition to Defendant’s
                                                   9
v. Connecticut Ret. Plans & Trust Funds, 133 S. Ct. 1184, 1195-96 (2013) (finding not only

commonality, but predominance, in the context of a securities fraud case where (as here) plaintiff

is required to prove both that the challenged claims were objectively false or misleading and that

they were objectively material).19

     F. There Is No Impediment to a Multistate Class

       Defendant argues that Plaintiff cannot sue on behalf of out-of-state consumers under

CUTPA (Def. Br. at 26), but she has not attempted to do so. Rather, she brings suit on her own

behalf under CUTPA, and seeks to certify a class of persons who have suffered the same injury in

states whose laws are materially the same. Defendant makes no serious effort to rebut this fact,

making a desultory argument against the similarity of the laws at issue in a footnote and attaching

an appendix that purports to show how the laws are materially different. But, as shown in

Plaintiff’s Appendix in Response to Appendix A to Defendant’s Opposition to Plaintiff’s Motion

for Class Certification (attached as Exhibit C to the Kindall Decl.), Defendant is simply wrong.

The laws are materially similar, and there is no impediment to maintaining a multistate class.

                                         CONCLUSION

       For the reasons set forth above and in Plaintiff’s initial brief, Plaintiff respectfully submits

that the Motion should be granted and the Court should certify a Class pursuant to Rule 23(b)(2).


Daubert Motion. Defendant’s remaining arguments concerning whether Plaintiff has established
a material false statement, (Def. Br. at 22-25) are rebutted in Plaintiff’s Opposition to Defendant’s
Motion for Summary Judgment.
19
   See also In re U.S. Foodservice Inc. Pricing Litig., 729 F.3d 108, 119 (2d Cir. 2013) (“because
the question whether the invoices materially misrepresented the amounts due USF is common to
all plaintiffs, the class will ‘prevail or fail in unison’ on this point – rendering certification
appropriate.”) (quoting Amgen). Moreover, “[b]ecause materiality is judged according to an
objective standard, the materiality of [the] alleged misrepresentations and omissions is a question
common to all members of the class.” Amgen, 133 S. Ct. at 1191. The only cases Defendant
cites are irrelevant because they concern only whether all putative class members were exposed to
the challenged representation, not whether they were misleading or material.

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Dated: November 11, 2015         Respectfully Submitted,



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                               CERTIFICATE OF SERVICE

       I hereby certify that on the 11th day of November, 2015, a true and correct copy of this

Reply Memorandum of Law in Further Support of Plaintiff’s Motion for Class Certification has

been served upon all counsel of record by filing through the CM/ECF system.



                                                                 /s/ Nicole A. Veno
                                                                    Nicole A. Veno




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